      Case 3:05-cr-00058-SRU            Document 1198         Filed 04/24/08      Page 1 of 1




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 UNITED STATES

          v.                                                   Criminal No.
                                                               3: 05cr58 (SRU)
 JOSHUA FEBRES

                                CONFERENCE MEMORANDUM

         On April 23, 2008, I held a phone conference on the record with Hal Chen, for the

government, and Ray Mansolillo, representing the defendant. The purpose of the conference was

to discuss the medical status of Joshua Febres.

         I indicated that I have received communications from Attorney Mansolillo, including one

sent this morning, suggesting statutory and procedural mechanisms to ensure that Febres receive

adequate medical care. I further indicated my concern that defense counsel seems to request that

I act as an advocate for Febres, which would not be appropriate.

         Attorney Chen stated that he spoke with Bureau of Prisons Attorney Joseph McClusky,

who indicated that Febres is schedule to meet with a plastic surgeon at some point in the next few

weeks.

         I instructed the attorneys to continue to stay in touch with each other regarding the status

of Febres and his medical care, and to contact my chambers if another phone conference is

necessary.

         Dated at Bridgeport, Connecticut, this 23rd day of April 2008.


                                                            /s/ Stefan R. Underhill
                                                                Stefan R. Underhill
                                                                United States District Judge
